O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                              Case No:      DNCW 303CR000036-002
                      ISSAC LINDSEY HUEY                                    )
                                                                              USM No:       17794-058
                                                                            )
Date of Original Judgment:     June 15, 2004
                                                                            )
Date of Last Amended Judgment: May 21, 2009                                   Ross Hall Richardson
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of                   is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    35             Amended Offense Level:     33
Criminal History Category: III            Criminal History Category: III
Original Guideline Range:  210-262 months Amended Guideline Range: 168-210
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  Due to the nature and circumstances of the offense, as well as Defendant’s misconduct in prison.
                    Defendant has received seven disciplinary actions since 2005 including two since his sentence reduction
                    in 2009.

                          * Defendant is also serving a 60 month consecutive term of imprisonment on Count Eleven.

III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local
Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation
Officer.
Except as provided above, all provisions of the judgment dated                      June 15, 2004         shall remain in effect.
IT IS SO ORDERED.

Order Date:          March 12, 2012


Effective Date:
                       (if different from order date)



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